                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

  IN RE:                                           )
                                                   )
  FAIRMONT PARTNERS, LLC,                          ) CASE NO. 18-82014-11
  EIN: XX-XXX2657                                  ) CHAPTER 11
                                                   )
       Debtor.                                     )

                          APPLICATION TO EMPLOY ATTORNEY

          COMES NOW Fairmont Partners, LLC ("Debtor"), Debtor in the above Chapter 11 case
 and requests this Court for appointment of an attorney pursuant to 11 U.S.C. § 327, and as grounds
 for this Application would show unto the Court as follows:

        1.      Debtor filed a petition for relief under Chapter 11 of the Bankruptcy Code on July
 10, 2018 and, as a Debtor-in-Possession, desires to employ the law firm of Maples Law Firm, P.C.
 (the "Law Firm") as its attorneys in this case.

        2.       The members of the Law Firm are admitted to practice in this Court, have
 knowledge and experience in bankruptcy law practice, and are well qualified to represent the
 Debtor in this case.

        3.      In the continuance of Debtor's business and the pending Chapter 11 case, it will be
 necessary for various professional legal services to be rendered for which it is necessary to retain
 attorneys. These services include:

               a.       Preparing pleadings and applications and conducting examinations
        incidental to any related proceedings or to the administration of this case;

                b.      Developing the relationship of the status of the Debtor to the claims of
        creditors in this case;

               c.     Advising the Debtor of its rights, duties, and obligations as Debtor operating
        under Chapter 11 of the Bankruptcy Code;

              d.      Taking any and all other necessary action incident to the proper preservation
        and administration of this Chapter 11 case; and

                e.      Advising and assisting the Debtor in the formation and preservation of a
        plan pursuant to Chapter 11 of the Bankruptcy Code, the disclosure statement, and any and
        all matters related thereto.




Case 18-82014-CRJ11         Doc 4    Filed 07/10/18 Entered 07/10/18 14:26:59             Desc Main
                                    Document      Page 1 of 4
         4.      To the best of applicant's knowledge and as evidenced by the attached declaration,
 no member of the Law Firm holds or represents an interest adverse to this estate and all members
 are "disinterested" persons under the Bankruptcy Code.

         5.     Applicant proposes to compensate the Law Firm for the services of its members
 according to their standard hourly rate as that rate may from time to time be adjusted during the
 pendency of this Chapter 11 case. The current rate for the bankruptcy partner that will be the
 Debtor's main contact is $360.00 per hour. The rate for associates charged by the Law Firm is
 currently $205.00 to $215.00 per hour. The rate for paralegals charged by the Law Firm is
 currently $55.00 to $130 per hour. All payments will be subject to approval and allowance by the
 Court.

        WHEREFORE, Applicant prays that it be authorized to obtain, appoint, and employ the
 Law Firm as its attorneys to represent it in this case under the terms and conditions provided above.

        DATED July 10, 2018.


                                                       FAIRMONT PARTNERS, LLC


                                                       /s/ Willis Pumphery, D.D.S.
                                                       WILLIS PUMPHERY, D.D.S., MEMBER

                                                       /s/ Stuart M. Maples
                                                       STUART M. MAPLES
                                                       (ABS-1974-S69S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com




                                                  2




Case 18-82014-CRJ11         Doc 4     Filed 07/10/18 Entered 07/10/18 14:26:59             Desc Main
                                     Document      Page 2 of 4
                                  CERTIFICATE OF SERVICE

         I do hereby certify that on July 10, 2018, a copy of the foregoing document was served on
 the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 P. O. Box 3045
 Decatur, AL 35602

 20 Largest Unsecured Creditors


                                                     /s/ Stuart M. Maples
                                                     OF COUNSEL




                                                3


Case 18-82014-CRJ11         Doc 4    Filed 07/10/18 Entered 07/10/18 14:26:59          Desc Main
                                    Document      Page 3 of 4
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  IN RE:                                           )
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  EIN: XX-XXX2657                                  ) CHAPTER 11
                                                   )
       Debtor.                                     )

                                 ATTORNEY'S DECLARATION

       COMES NOW Stuart M. Maples and in support of the application of the above Debtor for
 employment of an attorney in this Chapter 11 states as follows:

        1.    I am a member of the firm of Maples Law Firm, P.C. (the "Law Firm") and have
 been duly admitted to practice in this Court.

        2.      To the best of my knowledge, each member of the Law Firm is a disinterested
 person in this case and no member represents or holds any interest adverse to the estate in the
 matters upon which the firm is to be engaged.

        3.       To the best of my knowledge, no member of the Law Firm has any connection with
 the Debtor, its creditors, or any other party in interest or their respective attorneys including the
 U.S. Trustee or any employee of the Bankruptcy Administrator's Office in this District.

        4.     The Law Firm has agreed to represent the Debtor in this Chapter 11 case upon the
 terms and conditions set forth in the Debtor's Application.

        5.     The Law Firm has not agreed to split or share any compensation received in this
 matter with any other person or entity.

        Dated July 10, 2018.

                                                       /s/ Stuart M. Maples
                                                       STUART M. MAPLES
                                                       (ABS-1974-S69S)
                                                       MAPLES LAW FIRM, PC
 SWORN TO AND SUBSCRIBED BEFORE                        200 Clinton Avenue West, Suite 1000
 ME ON JULY 10, 2018                                   Huntsville, Alabama 35801
                                                       Tel: (256) 489-9779
 /s/ Kristin Pickett                                   Fax: (256) 489-9720
 NOTARY PUBLIC                                         smaples@mapleslawfirmpc.com
 My Commission Expires: 5/19/2021




                                                  4


Case 18-82014-CRJ11         Doc 4     Filed 07/10/18 Entered 07/10/18 14:26:59             Desc Main
                                     Document      Page 4 of 4
